     Case 4:19-cr-00066-RSB-CLR Document 516 Filed 12/18/19 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA              )       CASE NO. 4:19-cr-066
                                      )
            v.                        )
                                      )
TINA HATTERER ET AL.                  )

                                    ORDER

      Based upon the motion of the Government, and for good cause shown therein,

the Government’s motion for leave of absence is GRANTED for the following dates:

            a)    December 30, 2019-January 3, 2020

            b)    January 22-January 24, 2020

            c)    February 10-February 14, 2020

      IT IS FURTHER ORDERED that should a hearing be set during those dates,

a substitute Assistant United States Attorney may handle the matter.

      SO ORDERED, this WK day of 'HFHPEHU 2019.



                                     __________________________________________
                                       ____________________________
                                                                 _ _______
                                                                        _ ___
                                     CHRISTOPHER
                                      HRISTOPHE  ER L. RAY
                                     UNITED
                                       NITED STATES MAGISTRATE JUDGE    JUDG
                                     SOUTHERN DISTRICT OF GEORGIA
